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 1                                UNITED STATES DISTRICT COURT
 2                                       DISTRICT OF NEVADA
 3                                                  ***
 4   CITY BAY CAPITAL LLC, a New York limited                    Case No. 2:21-cv-01790-RFB-EJY
     liability company,
 5
                    Plaintiff,
 6
            v.
 7                                                                            ORDER
     BH&G HOLDINGS, LLC, a Nevada limited
 8   liability company; BH&G ENTERPRISES LLC,
     a Nevada limited liability company; GREEN
 9   MESA CAPITAL LLC, a Nevada limited liability
     company; MGP APEX 582 DEVELOPMENT,
10   LLC, a Nevada limited liability company; MGP
     APEX 582 GUARANTY, LLC, a Nevada limited
11   liability company; MGP APEX 582
     MULTIFAMILY, LLC, a Nevada limited liability
12   company; MULTIGREEN PROPERTIES, LLC, a
     Nevada limited liability company; and TRU
13   DEVELOPMENT LLC; and DOES I through 50,
     inclusive,
14
                    Defendants.
15

16          Before the Court is Defendants’ Motion to Redact Previously Filed Document. ECF No. 9.
17   Defendants’ Motion seeks to redact Exhibits 5 and 6 of its Motion to Dismiss (ECF No. 7) because
18   it contains personal identifiers, such as month of birth and the first five digits of a social security
19   number. The Court considered Defendants’ Motion and the documents sought to be redacted. The
20   Court finds the redactions of Exhibits 5 and 6 contain personal identifying information the disclosure
21   of which may lead to harm arising merely from disclosure to the public.
22          Accordingly, IT IS HEREBY ORDERED that the Motion to Redact Previously Filed
23   Document (ECF No. 9) is GRANTED.
24          IT IS FURTHER ORDERED that Exhibits 5 and 6 of Defendants’ Motion to Dismiss shall
25   be redacted.
26          DATED this 2nd day of December, 2021.
27
                                                           ELAYNA J. YOUCHAH
28                                                         UNITED STATES MAGISTRATE JUDGE
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